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 7
 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                        Case No. 2:12-cr-00322-MCE
12                      Plaintiff,
13           v.                                       STIPULATION AND ORDER TO
                                                      CONTINUE THE STATUS CONFERENCE
14   TATYANA SHVETS, et. al.,                         FROM MARCH 14, 2014 TO JUNE 12, 2014
                                                      AT 9:00 A.M.
15                      Defendants.
16
17          IT IS HEREBY STIPULATED AND AGREED between the defendants, Alexsandr

18   Lastovskiy, Tatyana Shvets, Aleksandr Mikhaylov, and Hovik Mkrtchian by and through their

19   defense counsel, and the United March 14, 2014 of America by and through its counsel, Assistant

20   U.S. Attorney Heiko Coppola, that the status conference presently set for March 14, 2014 at 9:00
     a.m., should be continued to June 12, 2014 at 9:00 a.m., and that time under the Speedy Trial Act
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     should be excluded from March 14, 2014 through June 12, 2014. The reason for the continuance is
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     that the case is a fraud case that involves bank fraud and false tax returns and is, therefore,
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     complex. The defense needs additional time to review the discovery and to investigate the cases.
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     Additionally, the parties are attempting to resolve the case without a trial. Accordingly, the time
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     between March 14, 2014 and June 12, 2014 should be excluded from the Speedy Trial calculation
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     pursuant to Title 18, United States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for
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     defense preparation. The parties stipulate that the ends of justice served by granting this
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 1   continuance outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
 2   '3161(h)(7)(A). The defense counsel set forth below and the prosecutor have authorized Bruce

 3   Locke to sign this pleading for them.

 4
     DATED: March 6, 2014                          /S/ Bruce Locke
 5                                                BRUCE LOCKE
                                                  Attorney for Tatyana Shvets
 6
     DATED: March 6, 2014                         /S/ Bruce Locke
 7                                                MICHAEL CHASTAIN
                                                  Attorney for Alexsandr Lastovskiy
 8
     DATED: March 6, 2014                         /S/ Bruce Locke
 9                                                SCOTT TEDMON
                                                  Attorney for Aleksandr Mikhaylov
10
11   DATED: March 6, 2014                         /S/ Bruce Locke
                                                  RICHARD NAHIGIAN
12                                                Attorney for Hovik Mkkrtchian

13
     DATED: March 6, 2014                            /S/ Bruce Locke
14                                                For HEIKO COPPOLA
                                                  Attorney for the United States
15
16
                                                  ORDER
17
             The status conference presently set for March 14, 2014 at 9:00 a.m., is hereby continued to
18   June 12, 2014 at 9:00 a.m., and time under the Speedy Trial Act will be excluded from March 14,
     2014 through June 12, 2014 pursuant to Title 18, United States Code, Section 3161(h)(7)(B)(iv)
19   and Local Code T-4 for defense preparation, based on the representations of the parties in their
     stipulation. The Court finds that the ends of justice served by granting this continuance outweigh
20   the best interests of the public and the defendant in a speedy trial.

21           IT IS SO ORDERED.

22   Dated: March 11, 2014

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